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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
Marc Rovner, §
Plaintiff, §
§
v. § CIVIL ACTION NO. H-14-3416
§
Baker Hughes Incoporated, et al, §
Defendants. §
§

ORDER

In accordance with the Notice of Dismissal filed on March 20, 2015 (docket entry no. 30),

this action is dismissed without prejudice.
SIGNED at Houston, Texas, on this 23" day of March, 2015.

AR

“ SIM LAKE
UNITED STATES DISTRICT JUDGE

 

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